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                   IN THE UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF ARKANSAS
                           HOT SPRINGS DIVISION

UNITED STATES OF AMERICA                                            PLAINTIFF

     v.                       NO. 6:09cr60006-RTD-3

DARREN E. MCKIM                                                     DEFENDANT

                           SENTENCING MEMORANDUM

      On December 8, 2009, this Court held a sentencing hearing in

the above-captioned matter. Specifically addressed was whether the

two-level vulnerable victim enhancement at U.S.S.G. § 3A1.1(b)(1)

applies in this case and whether a variance should be granted under

18 U.S.C. § 3553(a). For reasons that follow, the Court holds that

§ 3A1.1(b)(1) should be applied to properly compute the guideline

range for Defendant’s sentence and that a downward variance is

appropriate.

I.   Factual Findings

     Based    on   the   information   before   it,   the   Court   finds as

follows:

     1. The victims in this case are LS and her three minor

children.     LS is a white female and each of her children was

fathered by an African American male.

     2. In early June 2008, LS and her minor children moved from

Arkadelphia, Arkansas to the nearby town of Donaldson. The racial

composition of Donaldson is almost exclusively Caucasian.

     3.      In June 2008, LS’s minor children were ages five years,

nineteen months, and four months.
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       4.   On June 15, 2008, Defendant and others discussed that

they did not want the victims living in Donaldson because they

associated with “niggers.”

       5.   To threaten and intimidate LS and her children, Defendant

assisted in the construction of a wooden cross.              Specifically,

Defendant provided Jacob Wingo and Dustin Nix with a saw, a hammer,

and nails.     Wingo and Nix constructed the cross in Defendant’s

presence.

       6.   Defendant attempted to recruit another individual to

assist in the construction of the cross.

       7.   Defendant was not present when Defendants Wingo, Nix, and

Morrison took the cross to the victims’ home on June 21, 2008.

III.    Analysis

       1. Vulnerable Victim

       In determining the vulnerability of a victim, the court must

find that the defendant knew or should have known that the victim

of his or her crime was “unusually vulnerable due to age, physical

or mental condition, or . . . otherwise particularly susceptible to

the criminal conduct.”     U.S.S.G. § 3A1.1(b)(1) & n.2.          The court

cannot make a blanket assumption about the applicability of the

enhancement based strictly on a particular characteristic of the

victim.     United States v. Anderson, 440 F.3d 1013, 1018 (8th Cir.

2006) (holding U.S.S.G. § 3A1.1(b)(1) did not automatically apply

based on advanced age of victim).          Rather, the Government must


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demonstrate the predicate facts supporting the enhancement by a

preponderance of the evidence.         United States v. Myers, 481 F.3d

1107, 1110 (8th Cir. 2007). In sum, application of the enhancement

requires a fact-based explanation of how the characteristic in

question made the victim “unusually vulnerable,” and why the

defendant knew or should have known of this vulnerability.             United

States v. Vega-Iturrino, 565 F.3d 430, 434 (8th Cir. 2009).

      The Court finds that at the time of the crimes, LS’s children

were ages five years, nineteen months, and four months. The crimes

took place at the home of these victims, and based on their ages,

the minor victims completely lacked the capacity to either prevent

or defend against the violation of their rights by Defendant.

United States v. Pospisil, 186 F.3d 1023, 1030 (8th Cir. 1999)

(affirming application of § 3A1.1(b)(1) in cross burning case where

victims–a mother and her children–were new in town and children

were young in age).      Further, based on the presence of her three

young children at her home at the time of the offense conduct, LS

had   little   ability   to   either   prevent   or   defend    against    the

violation of her civil rights.           Defendant’s conduct basically

forced LS to choose between being the victim of Defendant’s conduct

or potentially placing her children at risk by attempting to

resist. United States v. Plenty, 335 F.3d 732, 735 (8th Cir. 2003)

(affirming application of § 3A1.1(b)(1) where victim was asleep at

time of assault, could not contact law enforcement, and could not


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flee or move her children away from the crime).                    Finally, at the

time of the offense conduct, LS and her children had been residents

of the small town of Donaldson for only a few weeks.                     Based on this

fact, they were vulnerable due to their lack of a connection to the

community.     In other words, the victims lacked the sort of support

network   that    could     have    served    to       mitigate    the    effects   of

Defendant’s conduct and thereby render them less vulnerable.

Pospisil, 186 F.3d at 1030.           Thus, LS and her children were both

“unusually     vulnerable”      and   “particularly          susceptible      to    the

criminal conduct.”         U.S.S.G. § 3A1.1(b)(1).

       The Court must now determine whether Defendant knew or should

have   known    of   the    vulnerability      of       LS   and   her    children.

Vega-Iturrino, 565 F.3d at 434.              The facts before the Court show

that the catalyst for Defendant’s conduct was the relocation of LS

and her three young children from Arkadelphia to Donaldson.

Particularly, Defendant did not want these individuals to reside in

his predominately white town because they associated with African

Americans.     Based on these facts, Defendant necessarily knew about

LS’s children and either knew or should have known of their young

ages. Further, Defendant necessarily knew LS and her children were

new residents of Donaldson.           Thus, Defendant knew or should have

known of the vulnerability of LS and her young children.

       2. 18 U.S.C. § 3553(a)

       The Federal Sentencing Guidelines are advisory in nature.


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Kimbrough v. United States, 552 U.S. 85, 101 (2007).                     After

determining the guideline range, the district court should address

the statutory sentencing factors at 18 U.S.C. § 3553(a).              Gall v.

United States, 552 U.S. 38, 49-50 (2007).              A challenge to the

reasonableness of a sentence imposed by the district court is

reviewed for abuse of discretion. United States v. Price, 542 F.3d

617, 622 (8th Cir. 2008).       For the reasons that follow, the Court

will vary downward from the Sentencing Guidelines.

      District courts have an institutional advantage over other

courts in determining the appropriateness of a sentence based on

the   facts   of   a   particular   case   and   the   application    of   the

sentencing factors at 18 U.S.C. § 3553(a). United States v. Bueno,

549 F.3d 1176, 1182 (8th Cir. 2008).         Pursuant to § 3553(a)(1), a

district court may consider “the nature and circumstances of the

offense and the history and characteristics of the defendant . . .”

when fashioning an appropriate sentence.           The    facts before the

Court show that Defendant provided a hammer, some nails, and wood

to Defendants Wingo and Nix so that Wingo and Nix could construct

a cross.      While he was present during construction, he did not

participate in the process.         Further, while there is indication

that Defendant traveled to the victims’ home on June 15, 2008, in

order to verbally taunt them, he did not participate in either

transporting the cross to, or erecting the cross on, the victims’

property on June 21, 2008.      The fact that Defendant’s involvement


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in the offense conduct ceased on June 15, 2008, mitigates his

culpability in the instant offense.

     The Court further notes that Defendant, a thirty-eight year

old male, has no criminal history.      He has had no infractions while

on bond.    Since the offense conduct, Defendant has taken steps,

including enrollment in an alcohol-abuse treatment program and an

anger management class, to improve himself.           These actions will

make him a better husband to his wife and father to his children.

In short, Defendant’s characteristics indicate that he will be a

law-abiding and productive citizen upon release from prison.

     Section 3553(a) further states that a court should “avoid

unwarranted sentence disparities among defendants with similar

records who have been found guilty of similar conduct . . . .”             18

U.S.C. § 3553(a)(6).       Defendant has four co-defendants in this

case: Defendant Wingo received a twenty-four (24) month term of

imprisonment; Defendant Morrison received a fifteen (15) month term

of imprisonment; and Defendants Nix and Robbins each received one

(1) year and one (1) day in prison.        When Defendant’s culpability

is evaluated in reference to the culpability of his Co-Defendants,

the Court   finds   that   a   variance will    prevent    an   unwarranted

sentencing disparity.

     Based on the previous, the Court will vary downward and

sentence Defendant to an eighteen (18) month term of imprisonment.

This variance will “afford adequate deterrence to criminal conduct


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. . . .”    18 U.S.C. § 3553(a)(2)(B).

IV.    Conclusion

      Children   have       an   absolute    right    not    to   be    intimidated,

coerced, threatened, or scared because of their race or the race of

their parents.        The Court acknowledges that Defendant may have

intended to create fear only on the part of LS.                         However, the

effects of Defendant’s conduct may last the lifetime of each of his

victims, even if some of those victims come to know of and fully

understand Defendant’s conduct in later years.

      The Court holds that U.S.S.G. § 3A1.1(b)(1) should be applied

when computing Defendant’s offense level.               As a result, his total

offense level is sixteen (16).               Based on Defendant’s criminal

history category of I, the sentencing guidelines recommend a term

of imprisonment for 21-27 months, a fine in the range of $5,000-

$50,000,   a   term    of    supervised     release    for    2-3      years,   and   a

mandatory special assessment of $100 per count. Upon consideration

of the sentencing factors at 18 U.S.C. § 3553(a), the Court hereby

sentences Defendant to a term of imprisonment for eighteen (18)

months, a three (3) year term of supervised release, a fine of

$5,000, and a special assessment of $200.

      IT IS SO ORDERED this 8th day of December 2009.

                                              /s/ Robert T. Dawson
                                              Honorable Robert T. Dawson
                                              United States District Judge




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